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                  IN THE UNITED STATES DISTRICT COURT                     MAY 05 2017
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                         FOR THE DISTRICT OF HAWAII                     SUE BErnA.ail^-~

 UNITED STATES OF AMERICA,                     MAGISTRATE'S NO. 17-0478 BMK


                    Plaintiff,                         CASE NO.2:17mjl3-DBP

       vs.



 DREW WILSON CRANDALL,

                    Defendant.



       Before the Honorable Kenneth J. Mansfield, U.S. Magistrate Judge, District
 of Hawaii, Honolulu, Hawaii.

       The undersigned deponent being first duly sworn deposes and says:

        That deponent is a Special Agent with Homeland Security Investigations;
 that deponent is informed and believes and, on the basis of such information and
 belief, alleges that on January 9, 2017, a Complaint was filed in the Central District
 of Utah, and an arrest warrant issued, charging the above-named defendant,
 DREW WILSON CRANDALL,with conspiracy to manufacture and distribute
 Fentanyl, in violation of Title 18, United States Code, Sections 841(a)(1) and 846.




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                                               Special Agent, Homeland Security
                                                 Investigations

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 MAY,2017.



                                                 :H J. MANSFIELD
                                                  STATES MAGISTRATE JUDGE
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        Case 2:17-mj-00013-DBP
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Case  2:16-cr-00631-DAK  Document
        Case 2:17-mj-00013-DBP
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Case  2:16-cr-00631-DAK  Document
        Case 2:17-mj-00013-DBP
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Case  2:16-cr-00631-DAK  Document
        Case 2:17-mj-00013-DBP
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 Case1:17-mj-00478-BMK
Case  2:16-cr-00631-DAK  Document
        Case 2:17-mj-00013-DBP
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Case 1:17-mj-00478-BMK
Case 2:16-cr-00631-DAK   Document
        Case 2:17-mj-00013-DBP
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Case 1:17-mj-00478-BMK
Case 2:16-cr-00631-DAK   Document
        Case 2:17-mj-00013-DBP
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Case 1:17-mj-00478-BMK
Case 2:16-cr-00631-DAK  Document
        Case 2:17-mj-00013-DBP
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